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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                          October 20, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                        )
 In re:                                                 ) Chapter 11
                                                        )
 ALEXANDER E. JONES                                     ) Case No. 22-33553 (CML)
                                                        )
                         Debtor.                        )
                                                        )

     FOURTH STIPULATION AND AGREED ORDER GRANTING THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS OF ALEXANDER E. JONES AN
        EXTENSION OF TIME TO OBJECT TO A CLAIM OF EXEMPTIONS
                     AND OTHER RELATED RELIEF

          Alexander E. Jones (“Jones” or the “Debtor”) and the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Chapter 11

Case”), by and through their respective undersigned counsel, hereby enter into this fourth

stipulation and agreed order (the “Fourth Stipulation and Order”) as follows:

          WHEREAS, the Debtor filed his Schedules of Assets and Liabilities on February 14, 2023

[ECF No. 161] (the “First Schedules”);

          WHEREAS, the Debtor filed his amended Schedules of Assets and Liabilities on March

30, 2023 [ECF No. 231] (the “Amended Schedules”);

          WHEREAS, the Debtor filed his second amended Schedules of Assets and Liabilities on

April 18, 2023 [ECF No. 242] (the “Second Amended Schedules” and together with the First

Schedules and the Amended Schedules, the “Schedules”);

          WHEREAS, the Debtor has identified at least one additional modification to be made to

the Schedule C of the Second Amended Schedules, and has informed the Committee that it may

file further amended Schedules in the future (such future amended schedules, the “Further

Amended Schedules”);
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       WHEREAS, in order to preserve resources of the estate, on May 17, 2023, counsel for the

Committee and counsel for the Debtor entered into a stipulation and agreed order to extend the

deadline for any challenge to Schedule C of the Second Amended Schedules to until and at least

June 19, 2023, and as may be further extended by written agreement between the parties, operation

of the applicable rules, or order of the Court, which was so ordered by the Court on May 18, 2023

[ECF No. 285] (the “First Stipulation and Order”);

       WHEREAS, in order to preserve resources of the estate, on June 16, 2023, counsel for the

Committee and counsel for the Debtor entered into a second stipulation and agreed order to extend

the deadline for any challenge to Schedule C of the Second Amended Schedules to until and at

least August 18, 2023, and as may be further extended by written agreement between the parties,

operation of the applicable rules, or order of the Court, which was so ordered by the Court on June

16, 2023 [ECF No. 333] (the “Second Stipulation and Order”);

       WHEREAS, in order to preserve resources of the estate, on August 18, 2023, counsel for

the Committee and counsel for the Debtor entered into a third stipulation and agreed order to

extend the deadline for any challenge to Schedule C of the Second Amended Schedules to until

and at least October 20, 2023, and as may be further extended by written agreement between the

parties, operation of the applicable rules, or order of the Court, which was so ordered by the Court

on August 18, 2023 [ECF No. 399] (the “Third Stipulation and Order”);

       WHEREAS, in order to preserve resources of the estate, counsel for the Committee and

counsel for the Debtor have further agreed to extend the deadline for any challenge to Schedule C

of the Second Amended Schedules to until and at least twenty-one days after the Debtor files their

forthcoming Further Amended Schedules, and as may be further extended by written agreement

between the parties, operation of the applicable rules, or order of the Court;



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       WHEREAS, good cause exists to extend the deadline to object to the designation of any

property currently designated as exempt on Schedule C of the Second Amended Schedules;

       NOW, THEREFORE IN CONSIDERATION OF THE FOREGOING RECITALS,

IT HEREBY IS STIPULATED AND AGREED as follows:

       1.      The deadline for the Committee to object to the Debtor’s list of property claimed

as exempt in the Debtor’s Schedule C of the Second Amended Schedules and/or in any Further

Amended Schedules shall be extended to until twenty-one days after the Debtor files such Further

Amended Schedules.

       2.      The undersigned hereby represent and warrant that they have full authority to

execute this Stipulation on behalf of the respective parties, and that the respective parties have full

knowledge of, and have consented to, this Stipulation.

       3.      This Stipulation shall be effective immediately upon filing with the Court.

       4.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Stipulation, and the parties hereby consent to such jurisdiction to resolve

any disputes or controversies arising from or related to this Stipulation.

STIPULATED AND AGREED TO THIS 18TH DAY OF OCTOBER 2023




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By: /s/ Vickie L. Driver
Vickie L. Driver

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-and-

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Email: kporter@akingump.com

Counsel to the Official Committee of Unsecured
Creditors of Alexander E. Jones


SO ORDERED:

Dated: October 18, 2023

           August19,
           October 02,2023
                       2019
                                           ________________________________________
                                           THE HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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